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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                           §    Chapter 11
                                                 §
ELK PETROLEUM, INC.,                             §    Case No. 19-11157
ELK PETROLEUM ANETH, LLC                         §    Case No. 19-11158
RESOLUTE ANETH, LLC                              §    Case No. 19-11159
ELK OPERATING SERVICES, LLC                      §    Case No. 19-11160

                       Debtors.                       Joint Administration Pending

              MOTION OF DEBTORS FOR AN ORDER (1) DIRECTING
             JOINT ADMINISTRATION PURSUANT TO BANKRUPTCY
         RULE 1015(b); AND (2) WAIVING REQUIREMENTS OF BANKRUPTCY
         CODE SECTION 342(c)(1) AND BANKRUPTCY RULES 1005 AND 2002(n)

         The above-referenced debtors and debtors in possession (collectively, the “Debtors”) file

this Motion for an Order (1) Directing Joint Administration Pursuant to Bankruptcy Rule

1015(b); and (2) Waiving Requirements of Bankruptcy Code Section 342(c)(1) and Bankruptcy

Rules 1005 and 2002(n) (this “Motion”) and, in support thereof, respectfully represent as

follows:

                                     Jurisdiction and Venue

         1.     This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). This Court has jurisdiction

over this Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated February 29,

2012.

         2.     Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.     The statutory bases for the relief requested herein are section 342(c)(1) of title 11

of the United States Code (the “Bankruptcy Code”), Rules 1005, 1015(b), and 2002(n) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 1015-1 of the Local



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Bankruptcy Rules of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”).

       4.      Pursuant to Rule 9013-1(f) of the Local Rules, the Debtors consent to the entry of

a final order by the Court in connection with this Motion to the extent that it is later determined

that the Court, absent consent of the parties, cannot enter final orders or judgments consistent

with Article III of the United States Constitution.

                                           Background

       5.      On the date hereof (the “Petition Date”), the Debtors commenced these chapter 11

cases (the “Chapter 11 Cases”) by each filing voluntary petitions for relief under chapter 11 of

the Bankruptcy Code.

       6.      The Debtors remain in possession of their assets and continue to operate and

manage their businesses as debtors in possession pursuant to sections 1107 and 1108 of the

Bankruptcy Code.

       7.      No trustee, examiner, or committee of creditors has been appointed in these cases.

       8.      Additional information regarding the Debtors and these Chapter 11 Cases,

including the Debtors’ business operations, capital structure, financial condition, and the reasons

for and objectives of these Chapter 11 Cases is set forth in detail in the Declaration of Scott

Pinsonnault in Support of Chapter 11 Petitions and First Day Motions (the “Pinsonnault

Declaration”), filed contemporaneously herewith.

                                         Relief Requested

       9.      By this Motion, and Pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-1,

the Debtors seek entry of an order directing the joint administration of the Chapter 11 Cases for

procedural purposes only. Specifically, the Debtors request that the Court maintain one file and




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one docket for all of the Chapter 11 Cases under the case of Elk Petroleum, Inc. and that the

Chapter 11 Cases be administered under a consolidated caption, as follows:

                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re:                                           § Chapter 11
                                                 §
ELK PETROLEUM, INC., et al.,                     § Case No. 19-11157
                                                 §
                        Debtors.                 § Jointly Administered
                                                 §


         10.    The Debtors also request that a docket entry, substantially similar to the

following, be entered on the docket in each of the Chapter 11 Cases (other than the Chapter 11

Case of Elk Petroleum, Inc.) to reflect joint administration of the Chapter 11 Cases:

         An order has been entered in this case in accordance with Rule 1015(b) of the Federal
         Rules of Bankruptcy Rules of Bankruptcy Procedure and Rule 1015-1 of the Local Rules
         of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
         District of Delaware directing the procedural consolidation and joint administration of the
         chapter 11 cases of Elk Petroleum, Inc., Elk Petroleum Aneth, LLC, Resolute Aneth,
         LLC, and Elk Operating Services, LLC. The docket in Case No. 19-11157 should be
         consulted for all matters affecting this case.

         11.    In addition, the Debtors request that the Court waive the requirement of section

342(c)(1) of the Bankruptcy Code and Bankruptcy Rule 2002(n) for the inclusion of the Debtors’

full tax identification numbers in the captions for the Debtors’ filings with the Court and notices

sent to creditors.

                                         Relief Requested

         12.    Bankruptcy Rule 1015(b) provides, in relevant part, that if “two or more petition

are pending in the same court by or against . . . a debtor and an affiliate, the court may order a

joint administration of the estates.” Each Debtor is an “affiliate,” as that term is defined under

section 101(2) of the Bankruptcy Code, of Elk Petroleum, Inc. (“EPI”) or one of its Debtor


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subsidiaries. Accordingly, the Court is authorized to grant the requested relief by virtue of the

fact that EPI is the direct or indirect parent of each of the Debtors. Local Rule 1015-1 provides

additional authority for the Court to order joint administration of the Chapter 11 Cases, stating

that “[a]n order of joint administration may be entered, without notice and an opportunity for

hearing, upon the filing of a motion for joint administration.” Del. Bankr. L.R. 1015-1.

       13.     The request for joint administration of interrelated chapter 11 cases is generally

noncontroversial and routinely approved by courts in this jurisdiction under similar

circumstances. See, e.g., In re Southcross Energy Partners, L.P., et al., Case No. 19-10702

(MFW) (Bankr. D. Del. Apr. 23, 2019); In re Pernix Sleep, Inc., Case No. 19-10323 (CSS)

(Bankr. D. Del. Feb. 21, 2019); In re TerraVia Holdings, Inc., Case No. 17-11655 (CCS) (Bankr.

D. Del. Aug. 3, 2017); In re Bonanza Creek Energy, Inc., Case No. 17-10015 (KJC) (Bankr. D. Del.

Jan. 5, 2017); In re Basic Energy Servs., Inc., Case No. 16-12320 (KJC) (Bankr. D. Del. Oct. 26,

2016); In re Key Energy Servs., Inc., Case No. 16-12306 (BLS) (Bankr. D. Del. Oct. 25, 2016); In re

Halcón Res. Corp., Case No. 16-11724 (BLS) (Bankr. D. Del. July 29, 2016); In re Seventy Seven

Fin. Inc., Case No. 16-11409 (LSS) (Bankr. D. Del. June 8, 2016); In re Millennium Lab Holdings II,

LLC, Case No. 15-12284 (LSS) (Bankr. D. Del. Nov. 12, 2015); In re Samson Res. Corp., Case No.

15-11934 (CSS) (Bankr. D. Del. Sept. 18, 2015); In re Quicksilver Res., Inc., Case No. 15-10585

(LSS) (Bankr. D. Del. Mar. 19, 2015).

       14.     On the date hereof, the Debtors commenced the 27 Chapter 11 Cases referenced

above by filing petitions for voluntary relief with the Court. Given the provisions of the

Bankruptcy Rules and the Local Rules and the Debtors’ affiliation, joint administration of the

Chapter 11 Cases is warranted and will provide significant administrative convenience without

harming the substantive rights of any party in interest. Joint administration will avoid the

preparation, replication, service, and filing, as applicable, of duplicative notices, applications,


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and orders, thereby saving the Debtors considerable expense and resources. The Debtors’

financial affairs and business operations are closely related. Many of the motions, hearings, and

orders in the Chapter 11 Cases will affect each Debtor and its respective estate. The rights of

creditors will not be adversely affected, as this Motion requests only administrative, and not

substantive, consolidation of the estates. Moreover, each creditor shall still file its claim against a

particular estate. In fact, all creditors will benefit by the reduced costs that will result from the

joint administration of the Chapter 11 Cases. The Court also will be relieved of the burden of

entering duplicative orders and maintaining duplicative files. Finally, supervision of the

administrative aspects of the Chapter 11 Cases by the Office of the United States Trustee for the

District of Delaware (the “U.S. Trustee”) will be simplified.

       15.     Furthermore, it is appropriate to waive the requirement of section 342(c)(1) of the

Bankruptcy Code and Bankruptcy Rule 2002(n) for the inclusion of the Debtors’ full tax

identification numbers in the captions for the Debtors’ filings with the Court and notices sent to

creditors. This information is available on all of the Debtors’ chapter 11 petitions. Waiver of this

requirement is purely procedural in nature and will ease the administrative burden on the Debtors.

                       Waiver of Bankruptcy Rules 6004(a) and 6004(h)

       16.     To implement the foregoing successfully, the Debtors seek a waiver of the notice

requirement under Bankruptcy Rule 6004(a) and the 14-day stay of an order authorizing the use,

sale, or lease of a property under Bankruptcy Rule 6004(h). As explained above and in the

Pinsonnault Declaration, the relief requested herein is necessary to avoid immediate and

irreparable harm to the Debtors. Because joint administration will prevent the Debtors from

having to incur unnecessary expenses and will allow these cases to be administered efficiently,

ample cause exists to justify the waiver of the notice requirements under Bankruptcy Rule

6004(a) and the 14-day stay imposed by Bankruptcy Rule 6004(h), to the extent they apply.


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                                                Notice

       17.     Notice of this Motion has been provided to (a) the Office of the United States

Trustee for the District of Delaware; (b) each of the Debtors’ 20 largest unsecured creditors; (c)

Akin Gump Strauss Hauer & Feld LLP, 2300 N. Field Street, Suite 180, Dallas, Texas 75201

(Attn: Sarah A. Schultz), counsel to AB Elk Holdings LLC and AB Co-Invest Elk Holdings

LLC; and (d) the appropriate regulatory agencies. The Debtors submit that, in light of the nature

of the relief requested, no other or further notice is necessary or required.

       18.     As this Motion is seeking “first day” relief, the Debtors will serve copies of this

Motion and any order entered in respect to this Motion as required by Local Rule 9013-1(m).

Further, a copy of this Motion and any order approving it will also be made available on the

Debtors’ case information website located at http://cases.stretto.com/elkpetroleum. The Debtors

submit that, under the circumstances and in light of the nature of the relief requested, no other or

further notice need be given.

                                             Conclusion

       WHEREFORE, the Debtors respectfully request that the Court enter an order

substantially in the form annexed hereto as Exhibit A, (a) ordering the joint administration of

these bankruptcy cases, and (b) granting such other and further relief as is just and proper.

Dated: May 22, 2019                           WOMBLE BOND DICKINSON (US) LLP
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